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                                          Case No. 15-6193

                            UNITED STATES COURT OF APPEALS
                                 FOR THE SIXTH CIRCUIT

                                              ORDER

HEIDI K. ERICKSON

               Plaintiff - Appellant

v.

COMMONWEALTH OF KY, CABINET FOR HEALTH AND FAMILY SERVICES, et al.

               Defendants - Appellees



     Appellant having previously been advised that failure to satisfy certain specified

obligations would result in dismissal of the case for want of prosecution and it appearing that the

appellant has failed to satisfy the following obligation(s):

         The proper fee was not paid or a motion to proceed informa pauperis filed by
         November 10, 2015.

     It is therefore ORDERED that this cause be, and it hereby is, dismissed for want of

prosecution.

                                         ENTERED PURSUANT TO RULE 45(a),
                                         RULES OF THE SIXTH CIRCUIT
                                         Deborah S. Hunt, Clerk


Issued: November 19, 2015
                                         ___________________________________
